Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15          Page: 1 of 22 - Page
                                          ID#: 3109



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                )
                                          )
       Plaintiff/Respondent,              )        No. 6:11-CR-36-GFVT-HAI-9
                                          )        No. 6:13-CV-7308-GFVT-HAI
 v.                                       )
                                          )      RECOMMENDED DISPOSITION
 JOSH TERRY,                              )
                                          )
       Defendant/Movant.                  )
                                          )
                                          )
                                *** *** *** ***
     On September 13, 2013, Josh Terry, proceeding pro se, filed a motion pursuant to 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody. D.E.

505. The United States filed a response on March 28, 2014. D.E. 554. Defendant filed a reply

on April 21, 2014. D.E. 559. Pursuant to local practice and 28 U.S.C. § 636(b)(1)(B), this

matter was referred to the undersigned for a recommended disposition. After conducting an

initial review, the Court held an evidentiary hearing on January 14, 2015. D.E. 596. For the

reasons that follow, Defendant has failed to establish that he is entitled to relief pursuant to 28

U.S.C. § 2255. Therefore, the Court RECOMMENDS that his motion be DENIED. The Court

further RECOMMENDS that no Certificate of Appealability be issued.

                                      I. BACKGROUND

       On July 28, 2011, a federal grand jury returned a second superseding indictment as to

Josh Terry, as well as his co-defendants Marvin Reed, Jason Todd Reed, Kristi Rae Davis,

Thomas W. Little, Donald W. Terry, Elisha H. Alston, George Darden, Molik Ali Alston, Tony

Gibson, Cameron Herald, Jesse Herald, Jimmy Miller, Phyllis Ann Reed, and John Wesley

White. D.E. 79. The single count indictment alleged that Defendant conspired with his co-

                                                1
Case: 6:11-cr-00036-GFVT-HAI          Doc #: 598 Filed: 03/04/15          Page: 2 of 22 - Page
                                         ID#: 3110



defendants to “knowingly and intentionally distribute a quantity of pills containing oxycodone, a

Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1), all in violation of 21

U.S.C. § 846.” Id. Per a notice filed pursuant to 21 U.S.C. § 851 (D.E. 279), Defendant faced an

enhanced penalty of not more than 30 years imprisonment, a $2,000,000 fine, and at least 6 years

supervised release. See 21 U.S.C. § 841(b)(1)(C).

        The undersigned held Defendant’s initial appearance and arraignment on January 23,

2012, and scheduled Defendant’s trial for February 6, 2012. D.E. 233. At that time, the Court

appointed Harold Kirtley II to represent Defendant pursuant to the Criminal Justice Act. Id.

Judge Van Tatenhove continued Defendant’s trial once, ultimately scheduling it for April 16,

2012.   D.E. 238.    On March 30, 2012, Defendant, through counsel, filed a motion for

rearraignment, and Judge Van Tatenhove held Defendant’s rearraignment on July 12, 2012. D.E.

343. During this proceeding, Judge Van Tatenhove established that Defendant was competent,

that he had reviewed and discussed the case with his attorney, that he was entering into the plea

agreement voluntarily, and that he was satisfied with his attorney’s representation of him. D.E.

544 at 4-10. Judge Van Tatenhove then had the Assistant United States Attorney explain the

terms of the plea agreement, including the waiver provision, the statutory penalty enhancement,

and the agreed upon (and binding) sentence of 188 months pursuant to Federal Rule of Criminal

Procedure 11(c)(1)(C). Id. at 11-13. Defendant confirmed that the prosecutor’s description of

the plea agreement was an accurate description of his agreement with the government. Id. at 13.

        Judge Van Tatenhove then further explained the plea agreement and its terms to

Defendant. Judge Van Tatenhove described the plea agreement as “unique” because it was a

binding plea agreement, therefore if the Court chose to accept the plea agreement, Defendant’s

sentence would be 188 months. Id. at 16. Defendant acknowledged that he understood the



                                               2
Case: 6:11-cr-00036-GFVT-HAI                 Doc #: 598 Filed: 03/04/15               Page: 3 of 22 - Page
                                                ID#: 3111



binding nature of the 188 month sentence and had no questions regarding sentencing in his case.

Id. at 16, 19. Judge Van Tatenhove further described the waiver contained in paragraph six of

Defendant’s plea agreement. Paragraph six states that “Defendant waives the right to appeal and

the right to attack collaterally the guilty plea, conviction, and sentence, including any order of

restitution.” D.E. 435 at 3. Judge Van Tatenhove explained to Defendant that, by agreeing to

the plea agreement, he was waiving his right to have another court to review his case. D.E. 544

at 20. Defendant acknowledged that he was aware of this waiver, and the consequences of doing

so. Id.

          Moreover, Defendant stated to the Court that he believed that the government could have

proven the essential elements of the charge against him beyond a reasonable doubt. Id at 21-22.

Judge Van Tatenhove found that the plea was knowing, voluntary, and intelligent, and therefore

accepted the plea. Id. at 23.

          Judge Van Tatenhove conducted Defendant’s sentencing on October 31, 2012. D.E. 436.

Judge Van Tatenhove accepted Defendant’s plea agreement with no objection from Defendant or

counsel.     Id. at 30.      During the sentencing, both the prosecution and defense counsel

characterized Defendant as a “career offender.” Id. at 41, 49. Judge Van Tatenhove, pursuant to

the binding plea agreement, sentenced Defendant to 188 months incarceration followed by six

years of supervised release. Id. at 63-64; D.E. 442.

          On September 13, 2013, Defendant filed a Motion under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody with an accompanying memorandum.

D.E. 505. Very liberally construed, Defendant asserts five grounds for relief:1


1
  The Court notes that in Defendant’s memorandum there is a sixth ground of relief entitled “Argument III:
Ineffective Assistance of Counsel for Failing to File Direct Appeal as Movant Advised Him to Do.” D.E. 505-1 at
16. The Court has reviewed this argument and found that Defendant’s argument under this heading is duplicative of
the argument in “Argument III: Ineffective Assistance of Counsel for Failing to File Direct Appeal as Movant

                                                       3
Case: 6:11-cr-00036-GFVT-HAI                  Doc #: 598 Filed: 03/04/15                Page: 4 of 22 - Page
                                                 ID#: 3112



        1.       Defendant unintelligently and unknowingly entered into a plea agreement with the

                 United States government. D.E. 505-1 at 6.

        2.       Ineffective assistance of counsel for incorrectly advising Defendant of the

                 consequences of pleading guilty and improperly advised him to plead guilty.

                 Id.; D.E. 559 at 4.

        3.       The District Court erred when it sentenced Defendant to enhancements that were

                 not in the indictment or proven to a jury beyond a reasonable doubt. D.E. 505-1

                 at 8.

        4.       Ineffective assistance of counsel related to sentencing. Id. at 10-13.

        5.       Ineffective assistance of counsel for failing to file a direct appeal as Defendant

                 advised him to do. Id. at 8.

The Court conducted an evidentiary hearing on ground five on January 14, 2015.

                                              II. DISCUSSION

                                       A. Right to Collateral Attack

        Under 28 U.S.C. § 2255, a federal prisoner may seek habeas relief because a sentence

violates the Constitution or federal law, the federal court lacked jurisdiction to impose such a

sentence, or the sentence exceeds the maximum authorized by law. 28 U.S.C. § 2255. To

prevail on a § 2255 motion alleging constitutional error, a defendant must establish that the error

had a “substantial and injurious effect or influence on the proceedings.” Watson v. United States,

165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v. Abrahamson, 507 U.S. 619, 637 (1993)). By

contrast, to obtain habeas relief based on an alleged non-constitutional error, a defendant must


Advised Him to Do” that begins on page 13 of his memorandum. Therefore both grounds are considered together as
one ground for relief.
Additionally, in his memoranda, Defendant vaguely claims that his attorney failed to adequately investigate the case
against him. See D.E. 559 at 4. However, these arguments are so vague that they cannot be meaningfully evaluated
by the Court.

                                                         4
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15           Page: 5 of 22 - Page
                                          ID#: 3113



establish a “fundamental defect which inherently results in a complete miscarriage of justice or

an error so egregious that it amounts to a violation of due process.” Id. at 488 (citing Hill v.

United States, 368 U.S. 424, 428 (1962)). As the § 2255 movant, a defendant bears the burden

of proving his or her allegations by a preponderance of the evidence. McQueen v. United States,

58 F. App’x 73, 76 (6th Cir. 2003) (per curiam) (“Defendants seeking to set aside their sentences

pursuant to 28 U.S.C. § 2255 have the burden of sustaining their contentions by a preponderance

of the evidence.”).

       Additionally, the Court recognizes that Defendant is proceeding pro se, or without the

assistance of an attorney. Pro se motions receive a comparatively lenient construction by the

Court. Castro v. United States, 540 U.S. 375, 381-83 (2003); Franklin v. Rose, 765 F.2d 82, 85

(6th Cir. 1985).

                                            B. Waiver

       Numbered paragraph six of Defendant’s plea agreement states “[t]he Defendant waives

the right to appeal and the right to attack collaterally the guilty plea, conviction, and sentence,

including any order of restitution.” D.E. 435 at 3. A defendant “may waive any right, even a

constitutional right, by means of a plea agreement.” United States v. Fleming, 239 F.3d 761,

763-64 (6th Cir. 2001). A defendant’s knowing and voluntary waiver of his right to pursue

collateral relief in a plea agreement will preclude his ability to file a subsequent § 2255 motion.

In re Acosta, 480 F.3d 421, 422 (6th Cir. 2007); Davila v. United States, 258 F.3d 448, 450 (6th

Cir. 2001). In order for a waiver of collateral attack rights to be valid, the defendant must “enter

into the waiver agreement knowingly, intelligently, and voluntarily.” Davilla, 258 F.3d at 451.

Federal Rule of Criminal Procedure 11(b)(1)(N) requires the District Court to “inform the

defendant of, and determine that the defendant understands . . . the terms of any plea-agreement

provision waiving the right to appeal or collaterally attack the sentence.” Compliance with Rule
                                                 5
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15          Page: 6 of 22 - Page
                                          ID#: 3114



11(b)(1)(N) is sufficient to show that the defendant entered into the waiver agreement

knowingly, intelligently and voluntarily. See United States v. Sharp, 442 F.3d 946, 950 (6th Cir.

2006); United States v. Wilson, 438 F.3d 672, 674 (6th Cir. 2006).

       A Defendant is not barred, however, from bringing a collateral attack that concerns the

validity of the waiver itself. In re Acosta, 480 F.3d at 422. In his § 2255 motion and reply brief,

Defendant asserts that he entered into the plea agreement unintelligently and unknowingly. D.E.

505-1 at 6; D.E. 559 at 3. Moreover, Defendant also alleges ineffective assistance of counsel for

incorrectly advising him of the consequences of the guilty plea. D.E. 505-1 at 6. According to

Defendant, had he been provided with a “reasonable attorney he would of proceeded to trial and

would of never received critically incorrect legal advise [sic].” Id. Therefore, if the plea

agreement was invalid or the result of ineffective assistance of counsel, the waiver provision

would not bar Defendant’s § 2255 motion. The Defendant has failed, however, to provide any

factual basis to support either of these attacks upon the validity of the guilty plea or the waiver

contained therein. “A collateral attack will be unavailing where a defendant does not articulate

the basis for his or her challenge to the validity of a guilty plea and it is demonstrated that the

waiver is knowing and voluntary.” United States v. Eversole, No. 6:05-CR-34-DCR, 2010 WL

420067, *2 n.3 (E.D.Ky Feb. 1, 2010) (citing Short v. United States, 471 F.3d 686, 697-98 (6th

Cir. 2006); Davilla, 258 F.3d at 451). The Court, however, will evaluate each claim of invalidity

separately based upon the record.

        1. Defendant Knowingly and Voluntarily Waived His Right to Collaterally Attack
                           his Guilty Plea, Conviction, and Sentence
       For a waiver of collateral attack rights to be valid, the defendant must “enter into the

waiver agreement knowingly, intelligently, and voluntarily.” Davilla, 258 F.3d at 451. Judge

Van Tatenhove reviewed the waiver provision with Defendant at his rearraignment:

                                                6
Case: 6:11-cr-00036-GFVT-HAI    Doc #: 598 Filed: 03/04/15          Page: 7 of 22 - Page
                                   ID#: 3115



  THE COURT:                   The other thing in your plea agreement that I want

                       to focus on is found at paragraph 6, and let me just touch on

                       that. I’m just going to read it. It says you waive your right

                       to appeal and right to attack collaterally your guilty plea,

                       conviction and sentence, including any order of restitution.

                               Now, Mr. Terry, one of the protections that you

                       have is that what happens in this court, you can get another

                       court to take a second look at it. It takes three judges to do

                       that. And you can see how that’s a protection for you. You

                       know, if I could make a mistake, you could get somebody

                       to take a look at it. You can give up that right. You can in

                       essence agree that you’ll not ask another court to take a

                       look at what takes place in this court. We call that waiving

                       your appeal rights.     Do you recall talking about that

                       paragraph with Mr. Kirtley?

  THE DEFENDANT:               Yes, sir.

  THE COURT:                   Okay. Did he explain to you the consequence of

                       waiving those appeal rights?

  THE DEFENDANT:               Yes, sir.

  THE COURT:                   Okay. Well, based on what you’ve said to me, Mr.

                       Terry, and the representations of your lawyer, I do find that

                       the waiver of your appeal rights as set forth in paragraph

                       six of the plea agreement is knowing, it’s voluntary, and I



                                           7
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15          Page: 8 of 22 - Page
                                          ID#: 3116



                              think you understand the consequence of waiving those

                              appeal rights.

D.E. 544 at 19-20.

       The Assistant United States Attorney also summarized the waiver provision by stating

“[i]n paragraph 6 the [D]efendant waives the right to appeal and the right to attack collaterally

the guilty plea, conviction, and sentence, including any order of restitution.”         Id. at 12.

Defendant acknowledged that the prosecutor’s description of the agreement was consistent with

his understanding of his agreement with the government. Id. at 13. Moreover, Defendant stated

he had time to read through the agreement, understood all of the provisions, and that he had not

been coerced or threatened into signing the plea agreement. Id. at 10. Finally at the end of the

hearing, Defendant acknowledged that he understood everything that had occurred at the hearing

and had no questions about the proceedings. Id. at 24.

       Nothing in the record, beyond Defendant’s bare assertions, suggests that Defendant did

not understand the terms of his plea agreement or that he entered into it involuntarily. See Sharp,

442 F.3d at 951-952 (finding a valid waiver when Defendant testified he had read and

understood the agreement, had discussed it with counsel, and the prosecutor had read the

agreement in open court); Hardin v. United States, No. 13-5835, 2014 WL 6871588, at *1-2 (6th

Cir. 2014) (finding a valid waiver when Defendant acknowledged he understood the terms of the

plea agreement, had discussed his agreement with his attorney, agreed with the prosecutor’s

description of the agreement, and did not indicate any confusion about the meaning of collateral

attack); United States v. Pettway, No. 03-1034, 99 F. App’x 731, 733-34 (6th Cir. 2004) (finding

a valid waiver when the prosecutor noted the waiver provision, defense counsel explained the

agreement to Defendant, and Defendant did not indicate any confusion as to the provision).



                                                8
Case: 6:11-cr-00036-GFVT-HAI               Doc #: 598 Filed: 03/04/15     Page: 9 of 22 - Page
                                              ID#: 3117



Here, the prosecutor accurately read the provisions (including the waiver provision) of the

agreement, and Defendant acknowledged that that description was an accurate representation of

the agreement. D.E. 544 at 11-13. Defendant confirmed that he had spoken with his attorney

regarding the waiver paragraph and, throughout the hearing, did not express any confusion

regarding any provision of the plea agreement. Id. at 20. Further, defense counsel indicated that

he and Defendant met on several occasions and discussed the parameters of the plea agreement.

D.E. 554-1 at 3-6. According to defense counsel, Defendant specifically requested a binding

plea agreement because it ensured he would receive a sentence on the low end of his Guidelines

Range. Id. at 4. Judge Van Tatenhove found that Defendant was competent and not under the

influence of drugs or alcohol and, finally, Defendant confirmed that he had signed the agreement

under his own free will. Id. at 5-8, 10.

       Based on the record, and because there is no evidence presented by Defendant to the

contrary, Defendant entered into the plea agreement knowingly, intelligently, and voluntarily.

                2. Ineffective Assistance of Counsel During Plea Negotiations

       As a second basis for challenging the validity of the plea agreement, including the waiver

provision contained therein, Defendant alleges ineffective assistance of counsel during plea

negotiations. Specifically, Defendant alleges that “counsel incorrectly advised Movant of the

consequences of the guilty plea and improperly advised him to plead guilty. Had [Defendant]

been provided with a reasonable attorney [Defendant] would of proceeded to trial.” D.E. 505-1

at 6. To successfully assert an ineffective assistance of counsel claim, a defendant must prove

both deficient performance and prejudice. Strickland v. Washington, 466 U.S. 668, 687 (1984);

Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006) (noting that a defendant must prove

ineffective assistance of counsel by a preponderance of the evidence). In order to prove deficient



                                                  9
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15            Page: 10 of 22 - Page
                                           ID#: 3118



performance, a defendant must show that “counsel made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Strickland,

466 U.S. at 687. A defendant meets this burden by showing “that counsel’s representation fell

below an objective standard of reasonableness” as measured under “prevailing professional

norms” and evaluated “considering all the circumstances.” Id. at 688. However, a defendant is

not permitted to second-guess trial counsel’s strategic decisions. Moss v. Hofbauer, 286 F.3d

851, 859 (6th Cir. 2002). Thus, “a court must indulge a strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance; that is, the defendant

must overcome the presumption that, under the circumstances, the challenged action might be

considered sound trial strategy.” Strickland, 466 U.S. at 689 (internal quotations omitted).

Notably, “[a] fair assessment of attorney performance requires that every effort be made to

eliminate the distorting effects of hindsight, to reconstruct the circumstances of counsel’s

challenged conduct, and to evaluate the conduct from counsel’s perspective at the time.” Id.

       Deficient performance is considered constitutionally prejudicial only when “counsel’s

errors were so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”

Id. at 687. In order to prove prejudice, a defendant “must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Id. at 694. Thus, “[a]n error by counsel, even if professionally unreasonable,

does not warrant setting aside the judgment of a criminal proceeding if the error had no effect on

the judgment.” Id. at 691. In the context of plea agreements, in order to prove prejudice “the

defendant must show that there is a reasonable probability that, but for counsel’s errors, he

would not have pleaded guilty and would have insisted on going to trial.” Hill v. Lockhart, 474

U.S. 52, 59 (1985). This analysis often requires an assessment of success at trial in the absence



                                                 10
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15          Page: 11 of 22 - Page
                                           ID#: 3119



of counsel’s errors, such as whether an un-pursued affirmative defense would have been

successful or whether uninvestigated evidence would have likely changed the outcome. Id.

When evaluating prejudice, courts generally must take into consideration the “totality of the

evidence before the judge or jury.” Strickland, 466 U.S. at 695. Courts may approach the

Strickland analysis in any order, and an insufficient showing on either prong ends the inquiry.

Id. at 697.

        Here, Defendant’s claim is not supported by any specific allegation as to how defense

counsel was purportedly constitutionally deficient. “A motion under § 2255 must consist of

something more than legal conclusions unsupported by factual allegations.” Aguirre v. United

States, No. 2:06-CR-76, 2012 WL 3191958, *6 (E.D. Tenn. Aug. 2, 2012) (citing Blackledge v.

Allison, 431 U.S. 63, 74 (1977); Machibroda v. United States, 368 U.S. 487, 495-96 (1962);

Short v. United States, 504 F.2d 63 (6th Cir. 1974)). “When a petitioner files a § 2255 motion,

he must set forth facts entitling him to relief.” Id. (citing O’Malley v. United States, 285 F.2d

733, 735 (6th Cir. 1961)).     Without specific information as to how counsel was allegedly

constitutionally deficient, the standard of deference to counsel found in Strickland controls. That

standard is “highly deferential,” consisting of a “strong presumption that counsel’s conduct falls

within the wide range of reasonable professional assistance.” Strickland, 466 U.S. at 689.

Defendant has failed to overcome that presumption because he has not alleged any specific facts

that indicate that counsel was deficient during plea negotiations. This claim fails.

        Because Defendant knowingly, intelligently, and voluntarily entered into the plea

agreement and has not established that he entered into the agreement due to ineffective assistance

of counsel, the waiver provision is enforceable. See United States v. Toth, 668 F.3d 374, 377-

378 (6th Cir. 2012) (discussing enforceability of waiver of appeal rights). Defendant waived his



                                                11
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15            Page: 12 of 22 - Page
                                           ID#: 3120



right to collaterally attack “his guilty plea, conviction, and sentence, including any order of

restitution.” D.E. 435 at 3. Ground Four is fairly construed as a collateral attack on Defendant’s

sentence. Therefore, this claim is foreclosed by Defendant’s waiver. See Davila v. United

States, 258 F.3d 448, 452 (6th Cir. 2001) (“When a Defendant knowingly, intelligently, and

voluntarily waives the right to collaterally attack his or her sentence, he or she is precluded from

bring [sic] a claim of ineffective assistance of counsel based on 28 U.S.C. § 2255.”). Similarly,

Defendant’s claims in Grounds Three and Five, that the Court erred during sentencing and that

counsel failed to file an appeal as instructed, are barred by his waiver of collateral rights. Even if

Defendant’s claims were not waived, they would fail for the reasons set forth below.

                                   C. Grounds Three and Five
       Defendant’s claim that the District Court erred when it sentenced Defendant to

enhancements that were not in the indictment or proven to a jury beyond a reasonable doubt, in

addition to being foreclosed by the waiver, is procedurally defaulted. A federal prisoner’s failure

to raise a claim on direct appeal, excepting claims of ineffective assistance of counsel, results in

a procedural default of that claim. Bousley v. United States, 523 U.S. 614, 621 (1998); Peveler v.

United States, 269 F.3d 693, 698 (6th Cir. 2001).           A procedurally defaulted claim may

nonetheless be reviewed if the prisoner can show cause to excuse his failure to raise the claim on

direct appeal and actual prejudice resulting from the alleged violation. Bousley, 523 U.S. at 622;

Peveler, 269 F.3d at 698–700. If the prisoner fails to establish cause, it is unnecessary to

determine if he was prejudiced. Bousley, 523 U.S. at 623. Ground Three is not an ineffective

assistance of counsel claim. It is a claim which could have been raised in a timely direct appeal,

and thus is subject to procedural default. However, in Ground Five, Defendant asserts that

counsel provided ineffective assistance by failing to file an appeal on his behalf as instructed.

D.E. 505-1 at 10. Defendant claims that he “advised his Attorney [sic] that he wanted to file a

                                                 12
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15           Page: 13 of 22 - Page
                                           ID#: 3121



direct appeal and contest his sentence.” Id. Kirtley, by affidavit, swears that no instruction or

request to appeal was ever made. D.E. 554-1 at 2-3. A defendant has 14 days from the filing of

the judgment to file a notice of appeal in the District Court to appeal his case to the Court of

Appeals for the Sixth Circuit. Fed. R. App. P 4(b)(1)(A)(i).

       If Defendant can prove his allegations, counsel’s inaction could constitute ineffective

assistance, which is sufficient to show “cause.” See Ratliff v. United States, 999 F.2d 1023, 1026

(6th Cir. 1993) (finding allegations by pro se litigant that he asked counsel to appeal “bear

directly on the issue of cause and prejudice” and must be “construed liberally”); see Roe v.

Flores-Ortega, 528 U.S. 470, 477 (2000) (citing Rodriquez v. United States, 395 U.S. 327

(1969)); Ludwig v. United States, 162 F.3d 456, 459 (6th Cir. 1998). In fact, in that context

prejudice is presumed. See Roe, 528 U.S. at 483; Ludwig, 162 F.3d at 459 (“[F]ailure to perfect

a direct appeal, in derogation of a defendant’s actual request, is a per se violation of the Sixth

Amendment.”). Therefore it follows that, Defendant’s factual allegation supporting Ground

Five, if true, may satisfy the cause and prejudice exception, thus excusing the procedural default

with respect to Ground Three. See Huff v. United States, 734 F.3d 600, 606 (6th Cir. 2013);

Ratliff, 999 F.3d at 1026. If, on the other hand, counsel was not instructed to file an appeal, the

purported failure to appeal will disappear as a basis for relief and also will preclude review of the

procedurally defaulted theory in Ground Three.

       “In reviewing a § 2255 motion in which a factual dispute arises, the habeas court must

hold an evidentiary hearing to determine the truth of the petitioner’s claims.” Huff, 734 F.3d at

607 (citations and internal quotation marks omitted). To resolve this factual dispute, the Court

conducted an evidentiary hearing on January 14, 2015. D.E. 596. Both Defendant and defense

counsel testified at the hearing. Defendant testified that he discussed an appeal with defense



                                                 13
Case: 6:11-cr-00036-GFVT-HAI          Doc #: 598 Filed: 03/04/15           Page: 14 of 22 - Page
                                          ID#: 3122



counsel three times at his sentencing hearing. Evidentiary Hearing on § 2255 Motion, January

15, 2015, Testimony of Josh Terry (hereinafter, “Terry Testimony”), 17:05-17. According to

Defendant, the first discussion occurred in the holding cell before sentencing began and the other

two occurred during the proceeding itself. Id. at 17:18-18:36. Defendant testified that during the

first two discussions, defense counsel told him they “would discuss [appealing] later.” Id.

According to Defendant, during the third discussion he “told [defense counsel] ‘I want to file an

appeal’ and [defense counsel] said he would contact me later.”            Id. at 18:23-36.   After

sentencing, Defendant received some paperwork regarding his judgment, but did not hear from

defense counsel about an appeal again.      Id. at 19:38-50. On cross-examination, Defendant

acknowledged that he knew how to get in touch with defense counsel. Id. at 21:10-23. Further,

he testified that he remembered Judge Van Tatenhove describing to him that he was waiving his

appeal rights. Id. at 21:27-22:31. Finally, Defendant testified that he did not attempt to contact

defense counsel regarding his appeal after sentencing. Id. at 25:40-58.

       Defense counsel testified that, before rearraignment, he explained to Defendant, in detail,

the waiver of appeal rights in the plea agreement. Evidentiary Hearing on § 2255 Motion,

January 15, 2015, Testimony of Harold Kirtley (hereinafter, “Kirtley Testimony”), 30:56-31:02.

According to defense counsel, Defendant did not, at any point, instruct him to file an appeal. Id.

at 32:04-17. Kirtley testified that Defendant “never expressed a desire to file an appeal.” Id. at

33:18-22. After sentencing, defense counsel had no contact with Defendant, however over the

course of the representation he would receive phone messages from Defendant. Id. at 34:22-28,

34:34-35:13. Finally, defense counsel testified that if a client advised him to appeal, even if

there was a binding plea agreement that waived all of their appellate rights, he would do so. Id.




                                               14
Case: 6:11-cr-00036-GFVT-HAI          Doc #: 598 Filed: 03/04/15          Page: 15 of 22 - Page
                                          ID#: 3123



at 35:15-25. Kirtley reiterated that Defendant never instructed him to file a notice of appeal. Id.

at 35:54-58.

       Based on the briefing and the evidence presented at the evidentiary hearing, Defendant

has not established that he instructed Mr. Kirtley to file an appeal. His testimony that he

instructed Mr. Kirtley to file an appeal is not credible for several reasons. First, Defendant

alleges that he instructed defense counsel to appeal during his sentencing while another

Defendant was being sentenced by Judge Van Tatenhove.              Terry Testimony at 18:23-36.

Defendant acknowledged, however, that Judge Van Tatenhove told him at rearraignment that he

did not have the right to appeal and that he understood that. Id. at 21:27-22:31; D.E. 544 at 19-

20 (Judge Van Tatenhove reviewing the waiver provision with Defendant and Defendant

indicating he understood).    Moreover, defense counsel testified that he went over the plea

agreement with Defendant for an extended period of time, including a full explanation of the

appellate waiver provision.     Kirtley Testimony at 30:56-31:02.       It is not believable that

Defendant, with full knowledge and understanding that he had waived his appellate rights, would

direct his attorney to file an appeal immediately after the plea agreement was accepted.

       Second, as Defendant admitted, he made no attempt to contact defense counsel about his

appeal after he was sentenced on October 31, 2012. Defendant was informed of his appellate

rights at sentencing, and stated that he understood those rights. D.E. 545 at 67-68. Moreover,

Defendant and his attorney read and signed the “Court’s Advice of Right to Appeal,” which

indicated that the “notice of appeal must be filed within fourteen (14) days from the date of entry

of this judgment.”    D.E. 434.    Defendant testified that he received his judgment.        Terry

Testimony at 19:38-50.     If Defendant had informed defense counsel to file an appeal, he

presumably would have made an effort to contact defense counsel at some point thereafter



                                                15
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15           Page: 16 of 22 - Page
                                           ID#: 3124



regarding the status of that appeal. Defendant knew how to contact defense counsel, and had

done so multiple times in the past. Moreover, given that he understood when the appeal must be

filed, it is illogical to believe that Defendant would not have inquired of defense counsel about

the status of his desired appeal.

       Finally, given that Harold Kirtley is an experienced and capable counsel, the Court does

not believe that Defendant instructed him to file an appeal but Kirtley failed to do so. Kirtley

testified that any time a client directs him to file an appeal, whether or not they have waived their

appellate rights, he always files a notice of appeal. Kirtley Testimony at 35:15-25.

       Based on the record and the evidence that was presented at the evidentiary hearing,

Defendant has not met his burden to establish that he instructed Mr. Kirtley to file an appeal.

Thus, he has not established cause for his failure to raise his Ground Three on direct appeal and

his claim in Ground Five fails on the merits.

       Even without cause and prejudice, Defendant may avoid procedural default of Ground

Three if he can show that reviewing his claims would prevent a fundamental miscarriage of

justice, such as a constitutional violation that has probably resulted in a conviction of one who is

actually innocent. Bousley, 523 U.S. at 622–23. However, Defendant has not asserted that he is

actually innocent of the crime for which he was convicted, let alone provided any new evidence

to establish his innocence, nor has he shown that reviewing his claim would prevent some other

fundamental miscarriage of justice.

          D. Ground Four: Ineffective Assistance of Counsel Related to Sentencing
       Defendant’s remaining claims are for ineffective assistance of counsel related to

sentencing. D.E. 505-1 at 10. Defendant alleges that defense counsel was ineffective in three

ways. First, he claims that counsel was ineffective for failing to raise the argument that his

“recidivist enhancement should have been charged in the indictment and proved to a jury beyond

                                                 16
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15           Page: 17 of 22 - Page
                                           ID#: 3125



a reasonable doubt.” D.E. 505-1 at 11. Second, Defendant alleges that counsel was ineffective

for failing to “conest [sic] his prior criminal history or file a ‘Coram Nobris.’” Id. at 7. Finally,

Defendant argues that counsel was ineffective for failing to advise Defendant of his enhancement

pursuant to 21 U.S.C. § 851 until sentencing. As previously analyzed, these claims are barred

because Defendant knowingly, intelligently, and voluntarily entered into a plea agreement that

waived his right to collaterally attack his guilty plea, conviction, and sentence. Even if not

waived, these claims fail on their merits.

       Defendant’s first claim for ineffective assistance of counsel related to sentencing asserts

that defense counsel was ineffective for failing to raise any motion or argument “moving this

honroable [sic] court to see that Movant was not entitled to be sentenced under § 851, because

any fact that by law increases the penalty for a crime is an element that must be submitted to a

jury and found beyond reasonable doubt.” Id. at 10. The argument is based on the United States

Supreme Court decision in Alleyne v. United States, 133 S. Ct. 2151 (2013). Defendant asserts

that a prior conviction that serves as a sentence enhancement is an essential element of the crime

that must be proven to the jury. Id. at 505-1 at 10. According to Defendant, Alleyne held that

any fact that triggers a mandatory minimum or maximum sentence is an element of the crime and

must be proven to the jury beyond a reasonable doubt. D.E. 559 at 3-4. Therefore, Defendant

alleges counsel was ineffective because counsel did not argue that Defendant’s Sixth

Amendment rights had been violated because his prior conviction and enhancement were not

charged as parts of the essential elements of the crime, either in the indictment or his plea

agreement.

       Defendant cannot establish deficient performance. See Strickland, 466 U.S. at 688. The

Sixth Amendment guarantees the accused a right to a “speedy and public trial, by an impartial



                                                 17
Case: 6:11-cr-00036-GFVT-HAI          Doc #: 598 Filed: 03/04/15          Page: 18 of 22 - Page
                                          ID#: 3126



jury….” U.S. CONST. amend. VI. Together with due process, this right requires criminal

convictions be based upon “a jury determination that the defendant is guilty of every element of

the crime with which he is charged, beyond a reasonable doubt.” United States v Gaudin, 515

U.S. 506, 509-510 (1995). “Generally, the district court exercises discretion in sentencing a

defendant.” United States v. Martin, 526 F.3d 926, 942 (6th Cir. 2008) (citing Booker v. United

States, 543 U.S. 220, 233 (2005)). However, “[o]ther than the fact of a prior conviction, any

fact that increases the penalty for a crime beyond the prescribed statutory maximum must

be submitted to a jury, and proved beyond a reasonable doubt.” Apprendi v. New Jersey,

530 U.S. 466, 490 (2000) (emphasis added). A district court may find, based on a preponderance

of the evidence, the fact of a prior conviction. Alendarez-Torres v. United States, 523 U.S. 224,

235 (1998). The decision in Alleyne, which Defendant extensively relies on, served to overrule

Harris v. United States, 536 U.S. 545 (2002), by expressly finding that “[f]acts that increase the

mandatory minimum sentence are therefore elements and must be submitted to the jury and

found beyond a reasonable doubt.” Alleyne v. United States, 133 S. Ct. 2151, 2158 (2013).

Therefore, any fact, other than a prior conviction, that increases the mandatory minimum or

statutory maximum sentence are essential elements and must be submitted to the jury and found

beyond a reasonable doubt.

       Defendant’s reliance on this line of cases is misplaced. Defendant asserts that his prior

conviction is an essential element that must be proven to a jury beyond a reasonable doubt.

However, Almendarez-Torres specifically held otherwise and has been affirmed in Apprendi and

Booker v. United States, 543 U.S. 220 (2005). See Apprendi, 530 U.S. at 490; Booker v. United

States, 543 U.S. 220, 244 (2005). Moreover, as the Supreme Court specifically noted, the

decision in Alleyne did not disturb the Almendarez-Torres prior conviction exception. Alleyne,



                                               18
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15           Page: 19 of 22 - Page
                                           ID#: 3127



133 S. Ct at 2160 n.1 (“In Almendarez-Torres, we recognized a narrow exception to this general

rule for the fact of a prior conviction. Because the parties do not contest that decision’s vitality,

we do not revisit it for purposes of our decision today.”).

       Defendant’s argument therefore has no legal merit. “[C]ounsel’s failure to raise futile

objections and arguments does not amount to constitutionally deficient performance.” Lyons v.

Caruso, 202 F.3d 269, at *3 (6th Cir. 1999) (Table). Thus, it was not deficient performance for

counsel to elect to not raise a futile argument that the enhancement should not apply because it

was an essential element included in the plea agreement.             Moreover, even if deficient

performance was established, Defendant cannot prove that the argument would have been

successful and therefore cannot establish prejudice. This claim fails.

       Defendant’s next claim of ineffective assistance of counsel is that defense counsel failed

to contest Defendant’s prior criminal history or file a coram nobis even though Defendant

instructed him to do so. D.E. 505-1 at 11. However, in his original § 2255 motion and his reply

brief, Defendant does not assert any factual basis for these claims. See 505-1 at 11; D.E. 559 at

4. To the extent Defendant claims ineffective assistance of counsel for failure to contest his

criminal history, he cannot establish deficient performance or prejudice. Again, “[a] motion

under § 2255 must consist of something more than legal conclusions unsupported by factual

allegations.” Aguirre v. United States, No. 2:06-CR-76, 2012 WL 3191958, *6 (E.D. Tenn. Aug.

2, 2012) (citing Blackledge v. Allison, 431 U.S. 63, 74 (1977); Machibroda v. United States, 368

U.S. 487, 495-96 (1962); Short v. United States, 504 F.2d 63 (6th Cir. 1974)). Defendant has not

identified any challenges to his criminal history that defense counsel purportedly should have

raised. Without specific information as to how counsel was allegedly constitutionally deficient,

Defendant has failed to overcome the Strickland presumption that counsel’s conduct falls within



                                                 19
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15          Page: 20 of 22 - Page
                                           ID#: 3128



a wide range of reasonable assistance. Strickland, 466 U.S. at 689. Moreover, without any

factual support, Defendant has also failed to establish that a challenge to his criminal history

would have been successful. Thus, he has failed to establish prejudice.

       Similarly, Defendant’s claim that counsel failed to file a writ of error coram nobis is not

supported by any factual allegations. Defendant has not identified a basis upon which defense

counsel should have filed for coram nobis relief, however, the record indicates that a writ of error

coram nobis would not have been meritorious. A writ of error coram nobis is an “extraordinary”

power, only to be used to review errors “of the most fundamental character.” United States v.

Johnson, 237 F.3d 751, 755 (6th Cir. 2001). One of the prerequisites of coram nobis relief is that

the petitioner must not be in custody. See Id. (“A prisoner in custody is barred from seeking a

writ of error coram nobis.”). At all times since his arraignment on the indictment, Defendant has

been in custody. Therefore, even if Defendant had instructed counsel to file a writ of error

coram nobis, it would have been frivolous and thus deficient performance is not established.

Similarly, because it would not have been meritorious, Defendant also cannot establish

prejudice. This claim fails.

       Defendant’s third and final claim for ineffective assistance is for failing to advise

Defendant of “his § 851 enhancement until Oct. 31 2012 at sentencing.” D.E. 505-1 at 11.

Defendant is correct in his assertion that defense counsel has a duty to keep Defendant informed

of important developments in the course of the prosecution. See Strickland, 466 U.S. at 688.

Defendant’s claim, however, is foreclosed by the record because he was appropriately made

aware of the enhancement during his rearraignment. The plea agreement, which Defendant

signed and testified that he read and understood, contained language describing the § 851

enhancement. See D.E. 435 at 2. Finally, the prosecutor specifically described the enhancement



                                                20
Case: 6:11-cr-00036-GFVT-HAI          Doc #: 598 Filed: 03/04/15          Page: 21 of 22 - Page
                                          ID#: 3129



referenced in the plea agreement during rearraignment and Defendant acknowledged that the

prosecutor accurately described the agreement. D.E. 544 at 11-13. Therefore, based on the

record, Defendant’s allegation that he was not informed of the § 851 enhancement is false.

                         III. CERTIFICATE OF APPEALABILITY

       A Certificate of Appealability may issue where a movant has made a “substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). This standard requires a

movant to demonstrate that “reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000); see

Miller-El v. Cockrell, 537 U.S. 322, 335–38 (2003) (discussing development of standard). The

reviewing court must indicate which specific issues satisfy the “substantial showing”

requirement. 28 U.S.C. § 2253(c)(3); see Bradley v. Birkett, 156 F. App’x 771, 774 (6th Cir.

2005) (noting requirement of “individualized assessment of . . . claims”) (citing Porterfield v.

Bell, 258 F.3d 484, 487 (6th Cir. 2001)). For dismissals on procedural grounds, as to when a

Certificate of Appealability should issue, a movant must show that “jurists of reason would find

it debatable whether the petition states a valid claim of the denial of a constitutional right and

that jurists of reason would find it debatable whether the district court was correct in its

procedural ruling.” Slack, 529 U.S. at 484.

       The Court has considered the issuance of a Certificate of Appealability as to each and

every claim presented by Defendant. However, no reasonable jurist would find the assessments

on the merits above to be wrong or debatable; thus, no Certificate of Appealability should issue.

Moreover, many of Defendant’s claims are procedurally barred, but no jurist of reason would

find that the question of whether the motion states a valid claim of the denial of a constitutional




                                                21
Case: 6:11-cr-00036-GFVT-HAI           Doc #: 598 Filed: 03/04/15          Page: 22 of 22 - Page
                                           ID#: 3130



right is debatable. Nor would any jurist of reason find the correctness of the procedural rulings

above to be debatable.

                                  IV. RECOMMENDATION

       For the reasons discussed above, the Court RECOMMENDS that the District Court

DENY Defendant’s motion (D.E. 505) for 28 U.S.C. § 2255 relief.                   The Court also

RECOMMENDS that the District Court DENY a Certificate of Appealability as to all claims.

       The Court directs the parties to 28 U.S.C. § 636(b)(1) for appeal rights and mechanics

concerning this Recommended Disposition, issued under subsection (B) of the statute. See also

Rules Governing Section 2255 Proceedings, Rule 8(b). Within fourteen days after being served

with a copy of this decision, any party may serve and file specific written objections to any or all

findings or recommendations for determination, de novo, by the District Court. Failure to make

a timely objection consistent with the statute and rule may, and normally will, result in waiver of

further appeal to or review by the District Court and Court of Appeals. See Thomas v. Arn, 474

U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981).

       This the 4th day of March, 2015.




                                                22
